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  AO 442 (Rev. 11/11) Arrest Warrant                                                                            FB I

                                           UNITED STATES DISTRICT COURT                                                     RECEIVED BY: ~
                                                   ·                    for the                                 DATE:      },l=i I2.,1               ~ E-8':oo
                                                           Eastern District of Tennessee                                  Mfs.L'J:·~ -!JN . ~
                                                                                                                                   KN OXVI LLE , TN
                      United States of America                                                                                     MAR 2 6 2021
                                  V.                                     )
                                                                         )        Case No.       3:21-CR-38
                 BENJAMIN ALAN CARPENTER                                 )
                      a/k/a "Abu Hamza"                                  )
                                                                         )
                                                                         )
                               Defendant


                                                          ARREST WARRANT
 To:        Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                              BENJAMIN ALAN CARPENTER, a/k/a "Abu Hamza"
 (name ofperson to be arrested)
 who is accused of an offense or violation based on the following document filed with the court:

 ~ Indictment              0    Superseding Indictment         0 Information         0 Superseding Information                      O Complaint
 0     Probation Violation Petition            0 Supervised Release Violation Petition           0 Violation Notice                O Order of the Court

This offense is briefly described as follows:

     Violations of 18 U.S.C. § 2339B (Providing material support· or resources to designated foreign terrorist organizations).




Date: 03/23/2021


City and state:       Knoxville, Tennessee
                                                                                                 , I Pri11te.d.11ame 1d11d title
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                                                                     Return

           This warrant was received on (date)          0 "3/'J 3/;).0;)._I , and the person was arrested on (date)                 D 3,/::; 4 /;J-o:)...(
at (city and state)      /.c no Xv; flt:.-;,       TN

Date:
                                                                                                 Arresting o.fficer 's signature


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                                                                                                   Printed name' and title                       V


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